
625 S.E.2d 784 (2005)
360 N.C. 174
CITIFINANCIAL MORTGAGE COMPANY, INC. F/K/A Associates Home Equity Services, Inc.
v.
Tonza D. RUFFIN.
No. 375P05.
Supreme Court of North Carolina.
December 1, 2005.
William Walt Pettit, Charlotte, for Citifinancial Mortgage Company.
Teresa K. Smallwood, Windsor, for Tonza D. Ruffin.

ORDER
Upon consideration of the petition filed on the 13th day of July 2005 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 1st day of December 2005."
